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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        Case No. 07-20228-GRAHAM/TORRES


  UNITED STATES OF AMERICA,


  v.


  JUAN CARLOS VERGARA MONTES,

              Defendant.
  __________________________________/



             REPORT AND RECOMMENDATION ON CHANGE OF PLEA

        This matter was before the Court following on Order of Reference to conduct a

  proceeding for acceptance of a guilty plea by the Defendant in the above referenced

  case. The Court having conducted a change of plea hearing on March 16, 2009, it is

  recommended that the Defendant’s change of plea be accepted for the following

  reasons:

        1.     On March 16, 2009, this Court convened a hearing to permit the

  Defendant to enter a change of plea in the aforementioned matter. At the outset of the

  hearing, this Court advised the Defendant of his right to have these proceedings

  conducted by the District Judge assigned to the case. Further, this Court advised the

  Defendant that this Court was conducting the change of plea hearing on an Order of

  Reference from the District Court and at the request of the Defendant, the Defendant's

  attorney and the Assistant United States Attorney assigned to this case. This Court
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  further advised the Defendant that the District Judge assigned to this case would be

  the sentencing judge and would make all findings and rulings concerning the

  Defendant's sentence and would conduct a sentencing hearing at a time set by the

  District Court.

        2.     This Court advised the Defendant that he did not have to permit the

  undersigned United States Magistrate Judge to conduct this hearing and could request

  that the change of plea hearing be conducted only by a United States District Judge.

  The Defendant, the Defendant's attorney and the Assistant United States Attorney

  assigned to the case all agreed on the record and consented to this Court conducting

  the change of plea hearing.

        3.     Following the parties’ consent on the record, this Court conducted a plea

  colloquy in accordance with the outline set forth in the Bench Book for District Judges.

        4.     There is a written plea agreement that was entered into by the parties in

  this case and filed as an exhibit to the hearing. This Court reviewed that plea

  agreement on the record and had the Defendant acknowledge that he signed the plea

  agreement, as well as the factual proffer attached to the agreement. This Court also

  made certain that the Defendant was fully aware of any minimum mandatory

  sentences and maximum sentences that could be imposed in this case pursuant to that

  plea agreement and the applicable statutes.

        5.     The Defendant pled guilty to Counts Five and Eight of the Indictment

  that charged the Defendant respectively with conspiracy to import one kilogram or

  more of a mixture and substance containing a detectable amount of heroin, in violation

  of Title 21, United States Code, sections 952, 963 and 960, and conspiracy to distribute
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  one kilogram or more of a mixture and substance containing a detectable amount of

  heroin, in violation of Title 21, United States Code, sections 841 and 846. The written

  agreement also memorializes the government’s intention to seek dismissal of Counts

  Six and Nine of the Indictment as to this defendant.

         6.     The government stated a factual basis for the entry of the plea as to Counts

  5 & 8 that included all of the essential elements of the offenses to which the Defendant

  is pleading guilty and any sentencing enhancements and/or aggravating factors that

  may be applicable. The Defendant assented to the accuracy of the government’s factual

  proffer.    The government also announced the possible minimum and maximum

  penalties in respect to the Counts Five and Eight of the Indictment. The Defendant

  acknowledged that he understood these possible minimum and maximum penalties

  that could be imposed in his case.

         7.     Based upon all of the foregoing and the plea colloquy conducted by this

  Court, it is recommended that the Defendant be found to have freely and voluntarily

  entered his guilty plea to Count Five and Count Eight of the Indictment and as

  more particularly described herein and that the Defendant be adjudicated guilty of

  each of these offenses.

         8.      A pre-sentence investigation is being prepared for the District Court by

  the United States Probation Office and sentencing has been set for May 27, 2009, at

  10:00 a.m., U.S. Courthouse, Courtroom 13-4 - 13th Floor, 400 North Miami Avenue,

  Miami, Florida.

         ACCORDINGLY, this Court recommends to the District Court that the

  Defendant's plea of guilty be accepted, that the Defendant be adjudicated guilty of the
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  offenses to which he has entered his plea of guilty, and that a sentencing hearing be

  conducted for final disposition of this matter.

        The parties shall have ten (10) days from the date of this Report and

  Recommendation within which to file objections, if any, with the Honorable Donald L.

  Graham, United States District Judge.

        DONE AND SUBMITTED this 9th day of April, 2009, at Miami, Florida.



                                                     /s/ Edwin G. Torres
                                                    EDWIN G. TORRES
                                                    United States Magistrate Judge
